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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                    STATE SBORO DIVISION

ANTONIO MARQUETTE MANGRAM,                   )



    Movant,                                  )




V.                                           )      Case No. CV615-022
                                             )               CR612-018
UNITED STATES OF AMERICA,                    )



     Respondent.                             )




                                   ORDER

      Let a copy of this Report and Recommendation be served upon counsel for

the parties. Any objections to this Report and Recommendation must be filed with

the Clerk of Court not later than October 14, 2015. The Clerk shall submit this

Report and Recommendation together with any objections to the Honorable Lisa

Godbey Wood, Chief Judge, on October 15, 2015. Failure to file an objection

within the specified time means that this Report and Recommendation may

become the opinion and order of the Court, Nettles v. Wainwright, 677 F.2d 404

(5th Cir. 1982), and further waives the right to appeal the District Court's Order.

Thomas v. Am, 474 U.S. 140 (1985).

      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the District
Judge to whom this case is assigned.
      SO ORDERED this 30th day of September, 2015.

                                                    UNITED STATES MAGISTRATE JUDGE
                                                    SOUTHERN DISTRICT OF GEORGIA
